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                                       AFFIDAVIT OF NON-SERVICE
                                   UNITED STATES DISTRICT COURT
                                                District of Oregon
   Case Number: 1:24-CV-00648-AA
   Plaintiff: ARNAUD PARIS
   vs.
   Defendant: HEIDI MARIE BROWN

   For.
   Received by ACP Investigations on the 16th day of April, 2024 at 3:05 pm to be served on HEIDI MARIE
   BROWN, 2256 ABBOTT AVE, ASHLAND, OR 97520.

,:, _,1, ACP INVESTIGATIONS (SEAN SOUZA). being duly sworn, depose and say that on the 3rd day of May,
   2024 at ~:55 am, I:

   NON-SERVED the SUMMONS, CIVIL COVER SHEET, PETITION FOR RETURN OF CHILDREN
   UNDER THE HAGUE CONVENTION ON THE CIVIL ASPECTS OF INTERNATIONAL CHILD
   ABDUCTION AND-REQUEST FOR SHOW CAUSE ORDER (pgs 1-14), EXHIBIT 1-JUDGMENT rendu
   le 21 avril 2023 (pgs 1-25), EXHIBIT 2- JUDGMENT ISSUED AUGUST 25, 2023 (pgs 1- 7), EXHIBIT 3-
   EMAIL, EXHIBIT 4 • REQUEST FOR THE RETURN OF ABDUCTED CHILDREN PURSUANT TO THE
   HAGUE CONVENTION OF 25 OCTOBER 1_980 (pgs 1-6). After due search, careful inquiry and diligent
   attempts was unable to se'rve on HEIDI MARIE BROWN for the .reasons detailed in the comments below.
      Additional Information pertaining to this Service:
      4/16/2024 6:05 pm Attempted service at 2256 ABBOTT AVE, ASHLAND, OR 97520
       -SPOKE TO WHITE FEMALE, 78 years old, 5'9', 135 lbs, GRAY HAIR WHO STATED THAT NO LONGER
      LIVES HERE.
      4/17/2024 4:47 pm AFTER TALKING WITH CLIENT AND REVIEWING PHOTO SENT BY CLIENT - THIS
', _.WAS IN FACT THE WOMEN SERVER WAS TALKING TO AND WAS IDENTIFIED AS THE MOTHER OF
    . THE PERSON WE ARE TRYING TO SERVE. CLIENT STATED THAT HE FEELS AS THOUGH HEIDI IS
      STAYING WITH MOM AND IS LIVING AT THAT RESIDENCE.
      <1'/1.?l~O}tf ?:_48:pm Arrived at 5:45pm. Serve waited til 6:15pm - No vehicle in driveway. No one coming or
      g6inrv· '                             •
      4/17/2024 6:05 pm Attempted service at 2256 ABBOTT AVE, ASHLAND, OR 97520
       -NOT HOME
      4/18/2024 7:30 am Attempted service at 2256 ABBOTT AVE, ASHLAND, OR 97520
       -NOT HOME
      4/20/2024 11 :15 am Attempted service at 2256 ABBOTT AVE, ASH LAND, OR 97520
      ·" NOT HOME NO CARS SEEN
      4/22/2024 1:00 pm CLIENT ASKED FOR NON SERVE AFFIDAVIT OF ATTEMPTS TO PROVIDE TO
      JUDGE
      4/26/2024 9:15 am SERVER SS ATTEMPTED AT MIX BAKERY IN ASHLAND - DID NOT SEE ANYONE
      THAT MATCH HEIDI DESCRIPTION, NO KIDS SEEN, GRAY JEEP CHEROKEE NOT SEEN ) WAIT FOR
      30 MIN -
      4/26/202"4 10:05 am Attempted pervice on HEIDI MARIE BROWN (PARENTS HOUSE) 358
      pTRAWBERRY LANE, ASHLAND, OR 97520 - NO CARS SEEN - NOT HOME
      4/26/2024 10;15 am Attempted Service at MARKET OF CHOICE-1475 SISKIYOU BLVD ASHLAND OR
      97520'.:::sERVE:RSS WENT TH RU THE ENTIRE PARKING LOT -NO GRAY JEEP CHEROKEE SEEN -
      4/2&2024 11 :00 am WENT BY LITHIA PARK PLAYGROUND - TO SEE IF WE COULD FIND HEIDI AND
      THE TWINS - DID NOT SEE FEMALE OR TWINS THAT MATCHED DESCRIPTION
      4/28/2024 10:50 am LEFT ACP OFFICE-ARRIVED AT - PARENTS HOME-385 STRAWBERRY LANE
      ASHLAND OR 97520-ARRIVED AT 11: 15 AM - JEEP NO SEEN -WHITE TOYOTA 4RUNNER SEEN
      CRATER LAKE PLATE 80611- LEFT FOR HEIDI'S HOME AT 2:15PM
      4/28/2024 2:30 pm 2:30PM ARRIVED AT 2256 ABBOTT AVE ASHLAND - NO CARS SEEN· NO
      MOVEMENT - NO ONE HOME- SENT PHOTO TO CLIENT - REQUEST TO TRY 3040 SIGNATURE
      COURT97504
      4/28/2024 2:45 pm ATTEMPTED AT 3040 SIGNATURE COURT -WHITE TRUCK IN DRIVEWAY &
      BLACK NISSAN LEAF- NO JEEP OR WHITE TOYOTA SUV- SENT PHOTOS TO CLIENT
      4/29/2024 9:38 am OMV LOOK UP - TO GET PLATE# OMV VIN LOOKUP 1C4PJMBS8EW212182 OR
   .• PLATE 040 MYV




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                          AFFIDAVIT OF NON-SERVICE For 1:24-CV-00648-AA

4/29/2024 11 :29 am SENT EMAIL, WITH ORDER AND OPTION TO.EMPLOYER. IN HOPES THEY
WOULD NOTIFY HER THAT SHE HAS DOCS TO BE SERVED ON HER
4/29/2024 4:23 pm Attempted service at 2256 ABBOTT AVE, ASHLAND, OR 97520
 NOT HOME DROPPED CARD
4/29p0_21 4:36 pm Attempted service at PARENTS HOME 358 STRAWBERRY LANE, ASHLAND, OR
97520·' ...._, •
 NOT HO~EDROPPED CARD
4/30/2024 '9:29 am SPOKE TO MALE ON THE PHONE (PHONE# 541-200-5509) WHO STATED THAT
HE WOULD NOT DISCLOSE INFORMATION ON HEIDI WHERE ABOUT'S- ACP JM EXPLAINED TO HIM
THAT WE AREA THIRD PARTY AND PROCESS SERVINGCOMPANYWHO HAS BEEN HIRED TO
SERVE LEGAL DOCUMENTS-ARE JOB IS TO DO THAT. MALE THREATENED COMPANY AND
STATED THAT IF WE WERE TO LOCATE HEIDI AND DISCLOSED HER WEARABOUTS. ACP JM
EXPLAINED TO HIM THAT WE COULD MEET IN A NEUTRAL PLACE AND NO ONEWHOULD HAVE TO
KNOWWHERE SHE WAS AND THAT THE JUDGE ULTIMATELY DES ICED WHAT HAPPENS IN COURT
5/1/2024 7:00 am Attempted Service on HEIDI MARIE BROWN. 2256 ABBOTT AVE, ASHLAND, OR
97520-NOT HOME
5/2/2024 6:15 pm Attempted Service on HEIDI MARIE BROWN, 2256 ABBOTT AVE, ASHLAND. OR
97520 - NOT HOME
5/3/2024 9:36 am TRIED CALLING# 541-944-2066-WENTTOVOICE MAIL-PHONE DID NOT RING -
TH EN CLiCKED OVER AND WAS UNABLE TO LEAVE VOICE MAIL
5/3/2024 ,,10:07 am TRIED CALLING# 541-690-2000 - DID NOT RING WENT STRAIGHT TO VOICE MAIL
~\iOjCEMAiL-F,OR
 .. :-~ .· r.-,.~--•·•.•..:·,~-· MEG- DID NOT LEAVE MESSAGE UNSURE WAS MOTHER#
.,D': .u;:.-:1·•·;   •

I certify that I am aver the age of 18, have no interest in the above action, and am a Certified -Process
Server, in good standing, in the judicial circuit in which the proc   was served. I declare under penalty of
perjury that the above statement Is true and correct.




Subscribed and Sworn to before me on the 3rd day
fi~:y, 2024~by:the affian t v"1 o is personally known
                                                             ACP Investigations
C "                         '-,                              P.O, Box 1624
                                                             1616 W. Main Street
~0J!l,RY;l?UIC                                               Medford, OR 97501
 ;,{'.~s?:.'i;~-:\-;\;•~. 'i /~-~•:·                         (541) 772-3107
; •:~~- •                        OFFICIAL STAMP
   ~•~t\~JESSICA ANtlE-MAlllE r.lORTOH                       Our Job Serial Number: ANV-2024000562
   <{;::l,fi'fi!P) MOTARY PUBLIC·OREGOM
      -.:::r'2Y COMMISSION NO. 1008617
  MY COMMISSION EXPIRES FEBRUARY 09, 2025




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AO 440 (Rev. 06/12) Summons in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                            for the
                                                      District of Oregon


                       ARNAUD PARIS                           )
                                                              )
                                                              )
                                                              )
                            Plai11tiff(s)
                                 v.
                                                              )
                                                              )
                                                                      Civil Action No.
                                                                                         .1; 2-t/--(2,v~ 000'-18·- /4.ft
                                                                                          ,•



                                                              )
                   HEIDI MARIE BROWN                          )
                                                              )
                                                         . -· -r
                                                              )
                           Defe11da11t(s)                     )

                                                SUMMONS IN A CIVIL ACTION

To: (Defe11da11t's 11amem1d address) HEIDIMARIE BROWN
                                     2256 ABBOTT AVENUE
                                     ASHLAND; OR 97520




          A lawsuit has been filed against you.

          Within 21 days after service of this summons on you (not counting the day you received it)- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)-you must serve on the plaintiff an 311swer to the attached complaint or a motion under Rule 12 of
the_ Feder,ll,1 Rul.~s. o(pvi! Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: ARNAUD PARIS
                                    13 RUE FERDINAND DUVAL
                                    75004 PARIS, FRANCE




       If you fail to respond, judgment by default will be entered against you for therelief demanded in the complaint.
You also must file your answer or motion with the court.




Date:




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     NOTICE TO RETRACT, CEASE AND DESIST

From:
Arnaud Paris
13 rue Ferdinand Duval
75004 Paris, FRANCE

To:
Heidi Brown
2256 Abbott Ave
Ashland, OR 97520

Date: Saturday, April 29th , 2023

Re: Defamation of Character - For Slander
Sent by Certified Mail


Miss Brown,

                              '
I, Arnaud Paris, am a respected     father who has raised his two daughters Eva and
Juliette Paris with care and love building a positive childhood and family environment
their entire life. Nevertheless, I have been Informed by Lora Wilde that on April 23rd,
Tracy and Noah Treiger called her on your behalf to commit slander against me and
maliciously spread inaccurate and unfounded information that is damaging to my
personal relationships with Lora and to my daughters, my friends and family.

Under the laws in the State of Oregon, it is unlawful for an individual to make deliberate
statements that intend to harm a person's reputation without factual evidence or based
on hearsay.

The defamatory statements made on your behalf to Lora Wilde on April 23rd in your
phone call with her include, but are not limited to, saying they had heard from you there
were videos of me having sex with underage girls.


If you do not retract to Lora Wilde and present apologies to me for having made
these statements a defamation of character lawsuit will be commenced
individually against you, Noah and Tracy Treiger within a week.

In addition, this shall serve as a pre-suit letter demanding that you provide written
assurance by email within 3 days of receiving that letter that you will cease and desist
from making further factually untrue statements and that you will retract these
statements in writing by email to Arnaud Paris (amaud@skyvr.com) and Lora Wilde
(loramwilde@gmail.com) and apologize for having done so.



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If you do not comply with this retract, cease and desist letter within the aforementioned
time-period then a lawsuit will be filed by me, Arnaud Paris, against you in the proper
jurisdiction seeking monetary damages of 1 million dollars as well as pursuing all
available legal remedies for your defamation. Lora Wilde will not be involved in this
lawsuit other than by making a written declaration as a primary witness.


Sincerely,




Arnaud Paris




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